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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
v.                                           :       CRIMINAL NO. 23-cr-239 (CKK)
                                             :
ILYA LICHTENSTEIN, et al.,                   :
                                             :
Defendants.                                  :

         CONSENT MOTION FOR ORDER AUTHORIZING ALTERNATIVE
       NOTIFICATION PROCEDURES OUT OF AN ABUNDANCE OF CAUTION

        The United States of America, by and through the United States Attorney for the District

of Columbia, respectfully moves this Court for an Order authorizing the government to use

reasonable alternative notification procedures pursuant to 18 U.S.C. § 3771(d)(2). The government

is seeking to notify the public regarding the offenses to which the defendants have pled guilty to

permit any person who claims status as a potential crime victim to assert any rights under the

Crime Victims’ Rights Act (CVRA), 18 U.S.C. § 3771. The government is not aware of any person

who qualifies as a victim under the CVRA or for restitution under the MVRA, beyond perhaps

Bitfinex, the Victim Virtual Currency Exchange (“VICTIM VCE”), but seeks such relief out of an

abundance of caution, in order to provide notice to members of the public—in particular, to former

accountholders of the Victim VCE —and to give them an opportunity to advance potential claims

for victim rights and/or restitution under the CVRA, Mandatory Victim Restitution Act (MVRA),

and related statutes. 1




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          Because the offenses of conviction are 18 U.S.C. § 1956(h) (Money Laundering
Conspiracy) and 18 U.S.C. § 371 (Conspiracy to Defraud the United States), the government’s
position is that such individuals are not “victims” under the CVRA or for restitution purposes. The
Court, however, may elect to allow individuals to submit comments for sentencing.
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       Counsel for the defendants have been consulted about this motion. Defendant Ilya

Lichtenstein and Defendant Heather Rhiannon Morgan do not oppose the motion and maintain

that the only potential victim for CVRA or MVRA purposes, if any, is Bitfinex.

                                 PROCEDURAL HISTORY

       The defendants, Ilya Lichtenstein and Heather Rhiannon Morgan, were charged by

criminal complaint on February 7, 2022, with violations of 18 U.S.C. § 1956(h) (Money

Laundering Conspiracy) and 18 U.S.C. § 371 (Conspiracy to Defraud the United States). These

charges relate to a hack into the Bitfinex virtual currency exchange, the VICTIM VCE, resulting

in the theft of approximately 119,754 Bitcoin (BTC) in August 2016. On August 3, 2023,

Defendant Lichtenstein pled guilty to one count of Money Laundering Conspiracy, in violation of

18 U.S.C. § 1956(h), and Defendant Morgan pled guilty to one count of Money Laundering

Conspiracy, in violation of 18 U.S.C. § 371, and one count of Conspiracy to Defraud the United

States, in violation of 18 U.S.C. § 371. Sentencing is scheduled for November 14, 2024

(Lichtenstein) and November 15, 2024 (Morgan).

                BACKGROUND REGARDING THE HACK AND THEFT

       Before the conspiracy to launder money and the related offense—that is, the offenses to

which defendants pled guilty—as alleged in the criminal complaint, and as agreed to in the

Statement of Offense filed in connection with the plea agreements, beginning in or around late

winter and early spring of 2016, Lichtenstein knowingly and willingly devised a scheme to defraud

VICTIM VCE by means of materially false or fraudulent pretenses, representations, or promises

- that is, the hack of VICTIM VCE. Lichtenstein conducted online research and reconnaissance of

the computer infrastructure used by VICTIM VCE. While physically located in the United States,




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Lichtenstein identified and compromised computer servers belonging to VICTIM VCE outside the

United States.

       Lichtenstein ultimately gained access to the private keys, or credentials, used to authorize

transactions involving virtual currencies held by VICTIM VCE. In or about August 2016,

Lichtenstein used his access to VICTIM VCE’s private keys to fraudulently authorize more than

2,000 transactions in which approximately 119,754 BTC was transferred from VICTIM VCE’s

wallets to an outside wallet (“Wallet 1CGA4s”) under Lichtenstein’s custody and control. At the

time of the hack, the stolen virtual currency was valued at approximately $71 million.

       During the reconnaissance phase of the hack of VICTIM VCE, Lichtenstein gained

unauthorized access to VICTIM VCE’s customer login credentials. Lichtenstein used these

customer credentials to engage in credential spraying—that is, using the customer credentials

stolen from VICTIM VCE to attempt to log into other accounts— targeting user accounts at other

virtual currency exchanges. As a result of these efforts, Lichtenstein fraudulently obtained access

to customer accounts at a second virtual currency exchange, “VCE A,” and stole an estimated

several hundred thousand dollars’ worth of funds from VCE A customer accounts. Lichtenstein

commingled these funds with the funds stolen from VICTIM VCE.

     BACKGROUND REGARDING VICTIM VCE’S RESPONSE TO THE THEFT

       According to information provided by the VICTIM VCE, after the hack and theft of funds,

VICTIM VCE (through its parent company, iFinex Inc. (iFinex)) allocated the losses from the

hack across all customer accounts. This resulted in an approximately 36% reduction in account

value across all accounts. In exchange, VICTIM VCE issued tokens called “BFX” tokens to

customers at a ratio of one BFX token for each $1 of loss. According to iFinex, as well as public

reporting in or around late 2016 and early 2017, customers holding BFX tokens then had the choice




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of (1) selling their BFX tokens on the secondary market for the prevailing market price, (2)

redeeming their BFX tokens for a cash payment from Bitfinex, at a rate of $1 per BFX token, or

(3) exchanging their BFX tokens for shares of the capital stock in iFinex, again valuing BFX tokens

at $1 per token. Any customers who chose to exchange their BFX tokens for iFinex stock also

received, in addition to the iFinex stock, new tokens called Recovery Right Tokens (RRTs), with

each RRT redeemable for up to $1 of recovered stolen funds, in the event sufficient funds were

ever recovered.

       In short, according to iFinex, all customers on VICTIM VCE’s platform immediately

following the hack had the same options: sell their BFX tokens on the market or back to VICTIM

VCE for cash or exchange their BFX tokens for iFinex stock plus the possibility of getting $1 in

recovered funds per RRT token. All customers holding BFX tokens chose to exercise one of those

options, and as of April 3, 2017, all BFX tokens were fully redeemed. In other words, according

to iFinex, within eight months of the hack, all customers holding BFX tokens had sold those

tokens, redeemed them for cash from VICTIM VCE at 100 cents on the dollar, or exchanged them

for iFinex stock plus RRTs. There are currently approximately 30 million RRT tokens outstanding,

so iFinex has indicated that approximately $30 million of any recovered funds would be used by

iFinex to redeem those RRT tokens in full.

       According to information provided by counsel for iFinex, iFinex believes that it is the sole

victim with sustained financial losses from the hack.

                                         DISCUSSION

       The CVRA provides certain rights to victims in federal criminal proceedings. The CVRA

defines a “crime victim” in relevant part as “a person directly and proximately harmed as a result

of the commission of a Federal offense.” 18 U.S.C. § 3771(e)(2)(A). This definition is offense-




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specific. “[I]n determining whether one qualifies as a victim, a sentencing court can only consider

the offense or offenses for which the defendant was convicted.” United States v. Battista, 575 F.3d

226, 231 (2d Cir. 2009); see also In re McNulty, 597 F.3d 344, 351 (6th Cir. 2010) (“The CVRA

‘instructs the district court to look at the offense itself only to determine the harmful effects the

offense has on parties.”) (quoting In re Stewart, 552 F.3d 1285, 1289 (11th Cir. 2008)). 2 In other

words, the Court must look to the offense of conviction in order to determine who qualifies as a

“victim” for purposes of the CVRA’s notice, right to be heard, and other crime victims’ rights

provisions.

       In this case, for CVRA purposes, the government’s position is that there are no “victims”

of the offenses of conviction. The defendants were convicted of Money Laundering Conspiracy

(in violation of 18 U.S.C. § 1956(h) for defendant Lichtenstein, and in violation of 18 U.S.C. § 371

for defendant Morgan) and Conspiracy to Defraud the United States (in violation of 18 U.S.C.

§ 371 for defendant Morgan). Neither defendant was convicted of the underlying intrusion into

VICTIM VCE’s network or the theft of cryptocurrency therefrom, as those acts were committed

in 2016 and were time-barred when the government brought charges in 2022. Thus, at least under

the circumstances here, neither the VICTIM VCE nor its accountholders were “directly and

proximately harmed,” 18 U.S.C. § 3771(e)(2)(A), by the conduct underlying the counts of



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          Similarly, the MVRA defines “victim” in offense-specific terms as “a person directly and
proximately harmed as a result of the commission of an offense for which restitution may be
ordered including, in the case of an offense that involves as an element a scheme, conspiracy, or
pattern of criminal activity, any person directly harmed by the defendant's criminal conduct in the
course of the scheme, conspiracy, or pattern.” 18 U.S.C. § 3663A(a)(2). See United States v.
Benns, 740 F.3d 370, 377 (5th Cir. 2014) (“[R]estitution to victims of the offense . . . can
encompass only those losses that results directly from the offense for which the defendant was
convicted.”); United States v. Lutz, 237 Fed. Appx. 849, 852 (4th Cir. 2007) (“it is the ‘offense of
conviction,’ not the ‘relevant conduct,’ that must be the cause of losses attributable as
restitutionary liability”) (quotation, citation omitted); United States v. Murry, 395 F.3d 712, 721
(7th Cir. 2005) (“restitution may not be ordered for relevant conduct”).

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conviction, that is, defendants’ laundering conduct or their conspiracy to defraud U.S. government

agencies.

       That said, even if a “person” does not meet the definition of “victim” under the CVRA, a

sentencing court may still receive victim impact statements at sentencing from that person. See,

e.g., United States v. Fata, 650 F. App’x 260, 265 (6th Cir. 2016) (holding that the district court

had discretion to consider oral and written statements from the defendant’s patients, whose status

as “victims” had not been determined, at a sentencing for health care fraud); United States v.

Weiner, 518 F. App’x 358, 367 (6th Cir. 2013) (finding that the testimony of the mother of a victim

of unrelated and uncharged sexual assault was relevant to the background, character, and conduct

of the defendant regardless of whether she was technically a “victim” under the CVRA); United

States v. Ortiz, 636 F.3d 389, 393–94 (8th Cir. 2011) (holding that the district court properly

permitted merchants’ statements as to retail theft losses suffered nationwide in an organized

shoplifting scheme because limiting statements to the scope of the offense “would deprive the

district courts of information which could aid them in determining whether to vary from the

Guidelines based upon policy considerations”); United States v. Spiwak, 377 F. App’x 319, 323

(4th Cir. 2010) (per curiam) (finding no error in the government presenting prior sexual abuse

victim’s testimony to support upward departure in child pornography possession case, even though

witness was not a victim under the CVRA).

       Because the Court may still hear from those who do not meet the statutory definition of

“victim” in the CVRA, the government is filing this motion out of an abundance of caution. In this

case, there are potentially thousands of VICTIM VCE accountholders whose accounts lost value

in 2016 as a result of this hack. The government has attempted to locate those victims, including

by requesting a list of all accountholders from VICTIM VCE, but such efforts have been




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unsuccessful. Under analogous circumstances, the CVRA recognizes that for crimes involving

multiple victims and where individual notification is “impracticable,” the Court has discretion to

adopt procedures to accord victim rights without unduly interfering with the criminal proceedings:

               In a case where the court finds that the number of crime victims
               makes it impracticable to accord all of the crime victims the rights
               described in subsection (a), the court shall fashion a reasonable
               procedure to give effect to this chapter that does not unduly
               complicate or prolong the proceedings.

18 U.S.C. § 3771(d)(2). The CVRA places no limitations on the alternative procedures that a Court

may fashion other than requiring that the procedures be reasonable to effectuate the Act and not

unduly complicate or prolong the proceedings. Id.; United States v. Bondarenko, No. 2:17-CR-

306-JCP-PAL, 2018 WL 1413972, at *2 (D. Nev. 2018).

       District courts have discretion to determine what is a “reasonable procedure” under the

CVRA. In re W.R. Huff Asset Mgmt. Co., 409 F.3d 555, 563 (2d Cir. 2005) (“Most of the rights

provided to crime victims under the CVRA require an assessment of ‘reasonableness’” and “[t]he

district court is far better positioned to make these assessments and to determine what constitutes

‘a reasonable procedure’ for effecting these rights than a court of appeals.”) (citations omitted);

see United States v. Schessel, No. CR 22-0374 (ES), 2022 WL 17094777, at *2 (D.N.J. Nov. 21,

2022). “Reasonable procedure” determinations thus may vary with each case given a district

court's “‘proximity to the particular facts and needs of victims that also will likely vary with each

case.’” Schessel, 2022 WL 17094777 at *2; (quoting United States v. Rubin, 558 F. Supp. 2d 411,

422 (E.D.N.Y. 2008); citing In re Huff, 409 F.3d at 562–63).

                  Justification for Proposed Alternative Notification Procedure

       In this case, although VICTIM VCE and several individuals and groups of accountholders

have come forward to self-identify as victims, the government does not know the identity or



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contact information for all VICTIM VCE accountholders. Accordingly, the government proposes

to use—with the Court’s permission—the Department of Justice’s website for large cases,

http://justice.gov/largecases, to direct potential individuals claiming such status to a case-specific

website where all required notices would be posted. The case-specific website would contain the

notices required under the Act and provide people with the opportunity to complete a statement to

relay information about how they may have been harmed by the conduct and/or offenses here. On

entry of the proposed order, the United States also would issue a press release informing

individuals and entities who believe that they may be victims to access the Department of Justice

website for more information.

       Ample precedent exists to use alternative notification procedures under the CVRA in such

a situation. Courts have routinely allowed the United States to use similar alternative methods to

notify potential victims in cases where the government could not determine precisely which

entities and individuals would qualify as victims under 18 U.S.C. § 3771(d)(2) and where large

numbers of such potential victims were involved. See, e.g., United States v. Penn, No. 20-CR-

00152-PAB, 2020 WL 4057589, at *1 (D. Colo. July 20, 2020) (finding that alternative notification

procedures were appropriate and granting government’s motion to notify victims pursuant to the

CVRA via the Justice Department’s website in case involving thousands of victims); Bondarenko,

2018 WL 1413972 at *2 (granting government’s motion to notify victims pursuant to the CVRA

via the Justice Department’s website in case involving the “large-scale trafficking of compromised

credit card data”); United States v. Babich, 301 F. Supp. 3d 213, 217–18 (D. Mass. 2017) (granting

in part government request for alternative notification procedures in healthcare fraud prosecution

but restricting information repeating allegations in pleadings); United States v. Merrill, No. 14-

40028-TSH, 2014 WL 6387368, at *2 (D. Mass November 14, 2014) (similar); United States v.




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Saferstein, No. 07-CR-557, 2008 WL 4925016, at *3–4 (E.D. Pa. November 18, 2008) (finding

publication of notice in national newspaper and through a government website to be “reasonable

procedures” under the CVRA).

       Here, despite the government’s position that, for CVRA and MVRA purposes, such

individual accountholders could not be considered “victims” of the offenses of conviction, out of

an abundance of caution, the government nonetheless requests such notice to permit such persons

to raise any claims to CVRA status or restitution under the MVRA should they choose to do so in

advance of the sentencing.

                                        CONCLUSION

       Accordingly, the United States respectfully requests that the Court authorize the use of

alternative notification methods, out of an abundance of caution.


                                             Respectfully submitted,

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